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                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY
                                          TRENTON VICINAGE

In re:                                                           Case No. 17-35403 / MBK
         James Roberts, Jr

                      Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Albert Russo, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 12/19/2017.

         2) The plan was confirmed on 09/11/2018.

        3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
03/22/2019.

        4) The trustee filed action to remedy default by the debtor in performance under the plan on
10/09/2019.

         5) The case was dismissed on 10/23/2019.

         6) Number of months from filing to last payment: 22.

         7) Number of months case was pending: 24.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $33,700.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:

           Total paid by or on behalf of the debtor                     $46,533.95
           Less amount refunded to debtor                                    $0.00

NET RECEIPTS:                                                                                                   $46,533.95


Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                         $17,986.90
     Court Costs                                                                        $0.00
     Trustee Expenses & Compensation                                                $2,984.88
     Other                                                                              $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                               $20,971.78

Attorney fees paid and disclosed by debtor:                               $0.00


Scheduled Creditors:
Creditor                                                Claim         Claim            Claim        Principal         Int.
Name                                    Class         Scheduled      Asserted         Allowed         Paid            Paid
Bank Of America                     Unsecured            11,861.00           NA               NA            0.00             0.00
CACH, LLC                           Unsecured             9,050.00      9,050.24         9,050.24           0.00             0.00
Capital Health System               Unsecured             5,016.11           NA               NA            0.00             0.00
Chase Bank USA                      Unsecured             8,624.00           NA               NA            0.00             0.00
CITY OF TRENTON - TAX OFFICE        Secured                    NA     217,960.45             0.00           0.00             0.00
City Of Trenton Tax Collector       Secured                    NA      62,898.00        62,898.00       5,103.87             0.00
Clearview Equities, LLC             Secured              61,760.47     85,346.01        85,346.01       6,925.43             0.00
ER Solutions                        Unsecured               575.00           NA               NA            0.00             0.00
IC Systems Collections              Unsecured               216.00           NA               NA            0.00             0.00
INTERNAL REVENUE SERVICE            Priority                   NA         203.46           203.46           0.00             0.00
INTERNAL REVENUE SERVICE            Secured             124,153.25     73,310.56        73,310.56       5,948.81             0.00
INTERNAL REVENUE SERVICE            Unsecured                  NA      57,077.33        57,077.33           0.00             0.00
Maryland National Bank              Unsecured            15,391.46           NA               NA            0.00             0.00
MBF Leasing                         Unsecured               628.00           NA               NA            0.00             0.00
NJ DIVISION OF TAXATION             Priority             10,931.91          0.00             0.00           0.00             0.00
NJ DIVISION OF TAXATION             Secured                    NA      91,592.83        91,592.83       7,432.31             0.00
NJ DIVISION OF TAXATION             Unsecured                  NA         813.58           813.58           0.00             0.00
Portfolio Recovery Assoc            Unsecured             1,944.00           NA               NA            0.00             0.00
PREMIER BANKCARD, LLC.              Unsecured               275.00        326.87           326.87           0.00             0.00
TOWNSHIP OF LAWRENCE                Priority                   NA       8,626.62         8,626.62           0.00             0.00
US BANK CUST BV002 TRUST & CRE      Secured                    NA       1,870.18         1,870.18         151.75             0.00




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 Summary of Disbursements to Creditors:
                                                                      Claim             Principal             Interest
                                                                    Allowed                 Paid                 Paid
 Secured Payments:
        Mortgage Ongoing                                             $0.00                $0.00                $0.00
        Mortgage Arrearage                                           $0.00                $0.00                $0.00
        Debt Secured by Vehicle                                      $0.00                $0.00                $0.00
        All Other Secured                                      $315,017.58           $25,562.17                $0.00
 TOTAL SECURED:                                                $315,017.58           $25,562.17                $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                                   $0.00                $0.00               $0.00
         Domestic Support Ongoing                                     $0.00                $0.00               $0.00
         All Other Priority                                       $8,830.08                $0.00               $0.00
 TOTAL PRIORITY:                                                  $8,830.08                $0.00               $0.00

 GENERAL UNSECURED PAYMENTS:                                     $67,268.02                $0.00               $0.00


 Disbursements:

          Expenses of Administration                                   $20,971.78
          Disbursements to Creditors                                   $25,562.17

 TOTAL DISBURSEMENTS :                                                                                 $46,533.95



         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
estate has been fully administered, the foregoing summary is true and complete, and all administrative
matters for which the trustee is responsible have been completed. The trustee requests a final decree be
entered that discharges the trustee and grants such other relief as may be just and proper.

Dated: 12/31/2019
                                                   By: /s/ Albert Russo
                                                                                 Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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